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                 Exhibit 8
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                   IN THE SUPREME COURT OF PENNSYLVANIA
                              MIDDLE DISTRICT


IN RE: BRIDGEPORT FIRE LITIGATION : No. 958 MAL 2010
                                  :
                                  : Petition for Allowance of Appeal from the
                                  : Order of the Superior Court
PETITION OF: DONALD E. HAVILAND, :
JR., ESQUIRE AND THE HAVILAND     :
LAW FIRM                          :


                                        ORDER


PER CURIAM


      AND NOW, this 13th day of June, 2011, the Petition for Allowance of Appeal and

Application for Leave to File Reply in Support of Petition for Allowance of Appeal are

DENIED. This matter is referred to the Disciplinary Board of the Supreme Court of

Pennsylvania for review of petitioners’ conduct.
